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Dls'rmc'r oF coNNEchcuT " ` -
coMPLAlNT
JAcK BRloN meHT
168 LoNG nlr.)GE RoAD : PLAlNTlFF
DANBuav, c.T. 06810
v. cAsE No.
MAnv n. MAHoNEY `
351 woaTl-l AvENuE 3 0 6 C V 4 715AVC

PALM BEACH, FLOR|DA 33480

DF\'. NEVILLE MARKS :DEFENDANTS
125 WORTH AVENUE
PALM BEACH , FLOR|DA 33480

CYNTH|A KlRKWOOD
C/O JOHN B. DONALDSON
4984 FULLER FARM ROAD
WAF{REN, V.T. 05674

 

A. PAFlTIES
1. PLA|NT!FF JACK B. WR|GHT lS A ClTlZEN OF CONNECTICUT WHO

PRESENTLY RES|DES AT 168 LONG RlDGE ROAD, DANBURY, C.T. 0681||0`

2. DEFENDANT, MARY MAHONEY lS A ClTlZEN OF FLOR|DA WHOSE
BUS|NESS ADDRESS 18 351 WORTH AVENUE, PALM BEACH, FLOR|DA
33480.

3. DEFENDANT, DFI. NEV|LLE MARKS lS A ClTlZEN OF FLOR|DA WHOSE
BUS|NESS ADDRESS lS 125 WORTH AVENUE, PALM BEACH, FLOR|DA

33480.
4.CYNT|"I|A KlRKWOOD lS A RES|DENT OF VEF{MONT WHOSE LAST KN¢

ADDRESS FOR CONTACT lS C/O JOHN DONALDSON, 4984 FULLER FAH|V|

noAD, wAnnEN , v.T. 0567
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B.JUR|SD|CT|ON
1.) DlVERS|TY JUR|SD|CTION STATUTE 28 U.S.C. & 1332

a.) The matter in controversy exceeds $75,000 exclusive of interests and costs

and is between the following parties:

b.)The plaintiff and all the defendants are citizens of different states
[ 28 U.S.C. & 1332 (a) (1)]

c.) The pleadings are as follows:

PLAfNTlFF: JACK WR|GHT , 168 LONG RlDGE ROAD DANBUFIY,C.T. 06|310
DEFENDANTS: ARE ALL RESlDENTS OF ElTHEFi FLOR|DA OR VERMONT l:

[SlMMONS V. ROSENBERG, 572 F. SUPP 823, 825 (E.D.N.\'. 1983)]
MARY- MAHONEY, 351 WORTH AVE., PALM BEACH FL .33480
DR. NEV|LLE MARKS, 125 WORTH AVE. , PALM BEACH,FL. 33480

C¥NTH|A KlRKWOOD, CIO JOHN B. DONALDSON, 498 FULLER FARM RD.

WARREN , VERMONT 05674

THE AMOUNT lN CONTROVERSY lS $2,500,000.00

[SEE VlDEO CONNECT|ON OF AM.,|NC. V. PR|OR|TY CONCEPTS, lNC.,
F.SUPP. 1549, 1550 (S.D.N.Y. 1985)]

2.) ACT|ONS UNDER FEDERAL TORTS CLA|M ACT [28 U.S.C. & 1402 (b)]
a.) an action under the Federa| Torts Claims Act may be brought in the ]udlci
district where the plaintiff resides and the act or omission giving rise to the

claim occurred.

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C. NATURE OF THE CASE
SlX YEARS AGO, (AUGUST 1999) DFI. NEV|LLE MARKS

(PSYCH|ATR|ST) lNTERVlEWED JACK WRIGHT FOR 1/2 HOUR AND AS `
HlM TO FILL OUT A MULT|PLE CHOICE QUESTIONAlRE. TH|S WAS lN T E
SERV|CE OF RELAT|ONSH|P COUNSEL|NG DFL MARKS WAS PERFOR lNG
FOR JACK WR|GHT AND .MARY MAHONEY WHO HAD A SEVEN YEAR
RELAT|ONSH|P PR|OR TO THE COUNSELING. UPON THE COMPLET|ON OF
THlS COUNSEL|NG THE RELAT|ONSH|P DlSCONTINUED WlTH DEFEN f NT
MARY MAHONEY AND THE PLA|NT|FF.

DUF\|NG 1999 AND 2000 THE PLA|NT|FF STARTED TO HEAR
FEEDBACK FROM CLIENTS AND FRE|NDS THAT DFl. MAHKS HAD STA D
TO MARY MAHONEY, AND THAT lN TURN, MARY MAHONEY WAS STATI G
TO THE ENT|RE COMMUN|TY THAT THE PLA|NT|FF “JACK WR|GHT WA
DANGEROUS, THAT HlS MULT|PLE CHO|CE TEST lDENTlFlED HlM AS O,
AND THAT DF|. MARKS WAS THE PSYCHlATR|ST ASS|GNED BY THE S ATE
OF FLOR|DA TO TEST AND EVALUATE TED BUNDY THE MASS MURDE E'R,
AND IN SOME WAY THAT QUAL|F|ED HlS OPINlON ON JACK WR|GHT”.

THlS lNFORMATlON WAS DlSTRESS|NG AT THE TlME. LlKE MOS
REASONABLE PEOPLE, THE PLA|NT|FF THOUGHT, AND WAS ADV|SED`TO
LET lT FIUN lT’S OWN COURSE AND FADE AWAY. TH|S WAS DlFFlCULT ` ND
lN THOSE FlRST FEW YEARS, lN JACK WFI|GHT’S BUS|NESS MARKET F
PALM BEACH FLOR|DA, THERE WAS AN ABRUPT LOSS OF HUNDREDS “ F
CL|ENTS , PRESUMABLY TO THIS RUMOR AND CHEAT|VE EXTENS|ON `
AND ADDITiONS TO TH|S RUMOR, lNVENTED AND DEL|VERED WlTH Vl` IOR
BY MARY MAHONEY lNTO THE SMALL COMMUN|TY OF THE WEALTHY
ALONG THE EAST COAST OF THE U.S..

CONS|DER|NG THAT THE STATUTE OF LlMlTATlONS APPL|ESS TO
ACT|ONS SlX OR SEVEN YEARS AGO BY DEFENDANTS MARY MAHON ¥
AND DR. NEV!LLE MARKS, THE FOCUS OF TH|S CASE SH|FTS TO ACT NS

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IN THE LAST YEAR BY ALL THREE OF THE DEFENDANTS AND OTHER
ASSOC|ATES OF THE DEFENDANTS . TH|S EFFORT ON THE PART OF _
DEFENDANTS DR. NEV|LLE MARKS AND MARY MAHONEY, DID NOT n
DlMlNlSH, AND lN FACT lN THE LAST YEAFI ALONE THERE HAS BEEN A
MULT|TUDE OF EFFORTS DES|GNED TO TORT|OUSLY lNTERFERE WlT -
PLAfNTlFF JACK WR|GHT’S BUS|NESS, “EXTRAORD|NARY” EFFORT T
lNVADE THE RlGHT OF PR|VACY OF THE PLA|NT|FF, EVEN lN HlS MOS
MEAN|NGFUL PEFISONAL F{ELAT!ONSH|PS, lNCLUD|NG WlTH HlS
CH!LDREN. THESE EFFORTS lNCLUDE DEFAMAT|ON lN THREE DlFFE " NT
COMMUN|TIES lN TWO DlFFERENT STATES THE CLfENT HAS LlVED lN AND
WORKED IN DUFI|NG THE LAST YEAR. TWO lN CONNECT|CUT|' AND 0 E !N
VERMONT.
BOTH DEFENDANTS, MARY MAHONEY AND DR. NEV|LLE MARK -
EXH|B|TED GROSS MAL|C|OUS lNTENT lN THEIF| EFFORTS TO DO TH|
SLANDER WELL OVER 1500 MlLES AWAY FROM THElR OWN DOM|CILE ‘
BUSINESS LOCAT|ONS. THE DEFENDANTS HAVE SET OUT TO
lNTENTlONALLY lNFLlCT EMOT|ONAL DlSTRESS UPON THE PLA|NT!FF
WlTH DlSFlEGARD, AND THEY HAVE BEEN SUCCESSFUL.
THE NATUFIE OF TH|S CASE IS MAGN|F|ED BY THE FACT THAT THE
PLA¥NT|FF WAS CONVICTED lN APR|L 2005 OF LARCENY lN THE 1ST IN
REGARDS TO MON|ES OWED TO CL|ENTS lN THE ART BUS|NESS. THE
SENTENCE BY THE COURT OF NEW YORK ClTY REQUIRED THAT THE
PLA|NT|FF PAY A LARGE DOWNPAYMENT ($120,000.00) AND THEN PAY
MONTHLY PAYMENTS lN REST|TUTION OF $12,162.78 PER MONTH TO THE
DEPARTMENT OF PROBAT|ON lN NEW YORK. BY l'!'HE NATURE OF THE SlZE
OF THE PAYMENTS, lT lS NECCESAR‘I AND ALLOWED THAT THE
PLA|NT|FF SHOULD PRODUCE THESE MON|ES lN THE ART BUS|NESS.
TH|S IS THE BUS|NESS lN WHlCH THE PLA|NT|FF HAS AT BEST A
FRACTURED REPUTAT|ON AND FEW HEMAIN|NG CL|ENTS ON WH|CH 110
PRODUCE THESE DES|RED FlESULTS. THE PLA|NT|FF HAS DELIVERED TO'

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THE COURT lN NEW YORK OVER $220,000.00 lN 9 MONTHS. RECENT
EVENTS lN THE LAST YEAF\, -SET lN MOT|ON BY DEFENDANT’S

MARY MAHONEY AND DR. NEV|LLE MARKS, DAMAGE THE ABIL!TY OF ITHE

PLA|NT|FF IN MEET|NG HlS OBLlGATlONS TO THE COURT. THE

PLA|NT|FF,|N PREPAR|NG TO REPRESENT HlMSELF ON A PRO-SE BA$|S,

HAV|NG STUDIED THE STATUTES lN REGARDS TO SLANDER AND

 

DEFAMAT|ON, HECOGN|ZES THAT THE NATURE OF THESE LAWS WET

DES|GNED TO PROTECT THOSE lN OUR SOC|ETY WlTH “GOOD” IF NO
lMPECCABLE “REPUTAT|ONS.

THEREFORE, TH|S CASE PRESENTS UN|QUE CHALLENGES lN '1|'HE

FACT THAT THE PLA|NT|FF HAS A DAMAGED OR FF|ACTURED
REPUTATION. THE QUEST|ON IS, “WHAT RlGHTS DOES THE PLA|NT|FF

CONV|CTED FELON) RETAIN TO PROTECT HlS REMA|N|NG BEPUTATIjl)-N

FROM MALIC|OUS AND UNTRUE RUMORS THAT HAVE NO APPROPR|A\
FOUNDATION. RUMORS THAT ARE SO OBV|OUSLY DES|GNED AND
DEL|VERED WlTH EXTRAORD|NARY EFFORT ON THE PART OF THE
DEFENDANTS, WlTH THE lNTENT|ON TO DENY THE PLA|NT|FF HlS

CAPAB|L|TY lN BUS!NESS AND COMMERCE, AND lN FACT TO DENY THE

PLA|NT|FF HlS PURSU|T OF LlFE ,LlBEFlTY, AND HAPP|NESS.

THE PLAINT|FF lN PRESENT¥NG THE FOLLOW|NG CAUSES OF
ACTION PRAYS THAT THE COURT UNDERSTANDS THAT THESE FACTS»
PF\ESENTED lN AFF|DAV|T FORM ARE THE ONLY ONES THAT THE
PLA|NT|FF MAY STATE lN FACT. TH|S MAY REPRESENT ONLY A SMALI..

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FRACT|ON OF THE REAL EFFORT MADE BY THE DEFENDANTS THAT WILL

COME TO LlGHT lN DlSCOVERY.

THEREFORE , THE PLA|NT|FF PRAYS THAT lF HlS RIGHTS UNDER -A

FEDERAL STATUTE HAVE BEEN VlOLATED BY THE DEFENDANTS, THAT

THERE MAY BE REDFIESS, COMPENSAT|ON FOR DAMAGES, AND
PROTECT|ON FF|OM SUCH WRONGFUL ACTIONS lN THE FUTURE.
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D. CAUSE OF ACT|ON

l ALLEGE THAT THE FOLLOWlNG OF MY CONST|TUT|ONAL FllGHTS,

PFllVlLEGES, OR lMMUNlTlES OFI MY FllGHTS UNDER A FEDERAL STA"|FUTE

HAVE BEEN VlOLATED AND THAT THE FOLLOWlNG FACTS FORM THE
BASIS OF MY ALLEGATlONS:

CLA|M 1 : lNTENT|ONAL TORT|OUS lNTERFERENCE WlTH BUS|NESS (28

USCS 2680 329 ) ON OF| ABOUT DECEMBER 20, 2005 , MARY MAHONEV
SPOKE TO NUNA TEAL , 555 CAMEL’S HUMP ROAD,
HUNT|NGTON,VERMONT , A BUS!NESS ASSOCIATE OF PLA|NT|FF, JAC:
WR|GHT, WlTH THE lNTENTlON TO DEFAME AND lNTERFERE WlTH THE
CONT|NU!TY OF A BUS!NESS RELAT|ONSH|P WlTH NUNA TEAL. TO Wl‘
MARY MAHONEY STATED

 

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“JACK WH|GHT lS DANGEFIOUS, AND l WOULD MAKE ARRANGEMENT Tl'O
LEAVE YOUR PFlOPEl'-'lT\l AND BE FAR AWAY FF{OM THE PLA|NT|FF , JA K

WR|GHT. DR. NEV|LLE MAF\KS TALKED TO JACK WR|GHT 7 YEARS AG
FOR 1/2 HOUR AND HE WAS THE PSYCH|ATR|ST FOR TED BUNDY lN
FLOR|DA (THE MASS MURDEF|ER) . DR. MARKS GAVE JACK WRIGHT A

MULT|PLE CHO|CE TEST AND THAT TEST 7 YEARS AGO DEF|NED JACW;
H

WR|GHT AS A DANGEROUS PERSON.” MARY MAHONE\’ SA|D THIS Wl
EMPHAS|S AND ALSO GAVE NUNA TEAL THE PHONE NUMBER OF
ELEANOR MlLLER TO CALL FOR SUPPORT OF HER OP|NION.

CLA|M 2 : lNTENTlONAL TORT|OUS lNTERFERENCE WlTH BUS|NESS (28;

USCS 2680 329) ON OR ABOUT FEBRUARY 2005 THROUGH APR|L 2005
MARY MAHONEY SPOKE REPEATEDL‘{ WlTH HOWARD RUSSECK OF
RUSSECK GALLERY lN PALM BEACH FLORiDA AND WAS STAT|NG

CONT|NUOUS DEFAM|NG COMMEN`TS TO HOWAHD RUSSECK lN THESIE

coNvEnsATloNs. JACK leGHT HAS ooNE ovER $1,000,000.00 1N
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BUS|NESS WlTH HOWARD FIUSSECK lN PFllOR YEARS. THERE HAS B EN

NO BUSINESS THANSACT|ON DONE WlTH HOWARD RUSSECK lN THE
LAST 12 MONTHS.TH|S WAS REPORTED TO PLA|NT|FF BY MR. RUSSE

 
 

K.

CLAIM 3 : lNTENTllONAL TORT|OUS lNTERFEl'-'lENCE WlTH BUS|NESS 28
USCS 2680 329) LlBEL, SLANDER, AND DEFAMATION (28 USCS 2680 3 8_)

lNVASlON OF PRIVACY ( 28 USCS 2680 330)

ON OR ABOUT MAY AND JUNE 2005 MARY MAHONEY HAD REPEA
CONVERSAT|ONS WlTH ELEANOR MlLLER , 60 MlLLER ROAD, PREST(I
C.T. 06365 WlTH THE lNTENTlON OF HARM|NG THE BUS|NESS

 
 

FIELAT|ONSH|P AND PERSONAL RELAT|ONSH|P OF THE PLA|NT|FF AND

ELEANOR MILLER. MARV MAHONEY STATED THAT JACK WR|GHT WA$

DANGEROUS AND REPEATED ACCUSAT|ONS THAT l'l' WAS ABLE TO BE

PROVEN BY DR. NEV|LLE MARKS OPlNlON. AFTER THESE
CONVERSAT|ONS, ELEANOR MlLLER DlSCONT|NUED ALL PERSONAL

ED

RELATIONS WlTH THE PLA|NT|FF AND CEASED ALL BUS|NESS RELAT|DNS

WlTH THE PLA|NT|FF. ELEANOR MlLLER WAS AN ARTlST THAT THE

PLA|NTlFF REPRESENTED. AS A RESULT OF THESE CONVERSAT|ONC;,
F

ELEANOR MlLLER HAD CONVERSAT|ONS WlTH CYNTH|A l(lRKWOOD
WA|TSF|ELD VERMONT lN MAY AND JUNE OF 2005 AND CYNTH!A
KlRKWOOD ALSO DlSCONT|NUED RELAT|ONS WlTH JACK WR|GHT.

 

CYNTH|A KlRKWOOD WAS AN ART|ST REPRESENTED BY PLA|NT|FF J CK
WR|GHT. ELEANOR MlLLER ALSO TOLD TH|S RUMOF| TO HER FAM|LY ND

FRElNDS IN THE COMMUN|TY OF PRESTON C.T. WHERE THE PLA|NT|F
LlVED AND THE RESULT WAS AN lNTENTlONAL lNFL|CT|ON OF EMOT|
DlSTRESS AS THE PLA|NT|FF WAS SHUNNED FROM THE COMMUN!TY.
ELEANOR M!LLER ALSO PASSED ON TH|S RUMOF{ ORlGlNATlNG FROM
MARY MAHONEY TO SEVERAL OF THE CH|LDREN OF JACK WRlGHT. Al.'.
OF THESE PEOPLE AFFECTED BY THE DEFAMATION AT THE HANDS OI

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MAF|Y MAHONEY WERE FULLY lNFORMED AND AWARE OF THE LEGAL
STATUS OF JACK WRIGHT AS A CONVlCTED FELON BEFORE THEY HN
ANY CONTACT WlTH TH|S RUMOR. ELEANOR MlLLER TOLD JACK WR|
lN MAY 2005 OF THESE CONVERSAT|ONS WlTH MAFlY MAHONEY,
CLA|M 4 : lNTENTlONAL TORTIOUS lNTERFERENCE WlTH BUS|

(28 USCS 2680 329 ) LlBEL SLANDER AND DEFAMATION (28 USCS 2680'1|
lNVASlON OF PR|VACY ( 28 USCS 330)

ON OR ABOUT MARCH 2005 DR. NEV|LLE MARKS , lN THE POS|TlON
PSYCHlATR|ST TO A PAT|ENT, ELlZABETH SORELL , 269 ROUND HlLL

ROAD, GREENW|CH C.T. , FULLY STATED HlS OPlNlON ON JACK WRIGHT

TO HlS CLlENT ELlZABETH SORFIEL . ELIZABETH SOFIREL REPEATED

THlS TO JACK WR|GHT, THE PLA|NT|FF, lN A CONVERSAT|ON lN MAFIIH

2005. TO WlT , THE DR, NEV|LLE MARKS STATED THAT HE HAD TALKE
JACK WRIGHT lN 1999 AND GlVEN JACK WRlGHT A MULT|P'LE CHO|CE
TEST AND lN HlS OP|N|ON HE STATED THAT JACK WR|GHT WAS
“DANGEROUS” AND SHE SHOULD HAVE NO CONTACT WlTH THE
PLA|NT|FF , JACK 'WR|GHT. ELlZABETH SORREL WAS A CLOSE FRE|ND

JACK WR|GHT AND ALSO A POTENT|AL CLlENT FOFI PAINT|NGS BY TH E'

ART|ST , DONALD FlOLLER WlLSON. AFTEF| TH|S CONTACT WlTH DR.

NEV|LLE MARKS , ELIZABETH SORREL DlD NOT HAVE CONTACT WlTH n

JACK WRlGHT.

CLA|M 5: LlBEL , SLANDER, DEFAMAT|ON ( 28 USCS 2680 328 )
ON OR ABOUT MAY AND JUNE AND JULY 2005 , CYNTH|A KlFlKWOOD;

‘TO

TO

DlD MAKE AN EXTRAORD|NARY EFFORT TO DEFAME THE PLA|NT|FF JlNCK

WR|GHT lN THE COMMUNlTlES OF WA|TSF|ELD AND WARREN AND

HUNT|NGTON VERMONT. TO WlT THE RUMORS WHICH PASSED THROXGH

FROM MARY MAHONEY TO ELEANOR MILLLER TO CYNTH|A KlRKWOO
WERE DlSTRlBUTED lNTO THE VERMONT COMMUN|TIES WHERE THE

PLA|NT|FF , JACK WFI|GHT HAD A RES|DENCE, BY CYNTH|A KlRKWOOlD.

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E. nEouEsT Fon nELlEF
wHEnEFonE, 1N olscovERY, THE PLAINT|FF BEL¢EVES THERE wlLL E
PnooucED , ovEanELmNG AMouNTs ol= lNFonMA‘rloN coNFmM N`G
THE MAGN|TuoE AND scope 01= EFFoaT MAoE ev THE DEFENDANT
oven A PEmoo oF sEvEN YEARs To DEFAME, LlBEL , AND sLANoE THE
PLAiNTiFF. To lNTENnoNALLY, TonTlouva lNTEnFEnE wrrl-l THE '
PLA|NT|FF’s BusiNEss, To leAoE THE vaAcv 01= THE PLA|NT|FF win-1
MALlclous lNTENT Fon THE PunPosE oF 1N1'ENT10NAL lNFLlcrloN c)i=
EMoTioNAL oisTnEss, lecl-l HAVE REsuL'rEo m onEnsE
coNschuENcEs Fon THE PLA|NT|FF AND A LlMlTATloN oF THE AB um
01= THE PLA|NT|FF To MEET Hls ostGATloNs To THE count ol= maulé
YonK, THE PLA|N'nFF PnAYs 1=01=1 REL1EF1N THE AMouNT oF
($2,500,000.00
‘F. JunY oEMANo
THE PLA|erF ooEs NoT sH A Junv Tl=uAL
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c>-»' ib-
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oANsunY , c.T. 06310 203-246-7548
walGHTGALLEnY@AoL.coM
oEcLAaATloN uNoEn PENALTY oF PEnJunv §
THE uNoEnslGNEo nEcLAnEs uNoEn PENALTY 01= PERJuFW THAT HB
THE PLA:NT|FF 1N THE ABovE AchoN THE 111=. HAS nEAD THE Aeo aris
coMPLAlN~r ANn 'rHAT TH_ mr-'onMATloN coNTAmEo is TauE AN NL
connEcT 28 .s.c. & 174'6; 1a u.s.c. & 1621
ExEcuTl.=.o AT l%m:c)e" QT, C~T- 1 lim 311%1?~@@€

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KTACK B. leGH;

 

 

 

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